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     Encino, California 91436-2746
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 4   Email: kessellaw@sbcglobal.net
 5
     Attorney for Defendant
 6   SALVADOR CAMACHO LOPEZ
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        ) CASE NO.: 2:07-CR-0086-FCD
                                                      )
12                         Plaintiff,                 ) STIPULATION AND ORDER TO
                                                      ) CONTINUE STATUS CONFERENCE
13   vs.                                              )
                                                      )
14   SALVADOR CAMACHO LOPEZ. et al,                   )
                                                      )
15                         Defendants.                )
                                                      )
16
17           The parties request that the status conference in this case be continued from June 9, 2008 at
18   10:00 a.m to July 21, 2008 at 10:00 a.m. They stipulate that the time between June 9, 2008 and July
19   21, 2008 should be excluded from the calculation of time under the Speedy Trial Act. The parties
20   stipulate that the ends of justice are served by the Court excluding such time, so that counsel for
21   each defendant may have reasonable time necessary for effective preparation, taking into account
22   the exercise of due diligence. 18 U.S.C. §3161()(8)(B)(iv) and Local Code T-4. Specifically, the
23   remaining defense counsel need additional time to review discovery, investigate, and continue plea
24   negotiations with the government. The court has also found time may be excluded in this matter
25   upon the complexity of the case under 18 U.S.C. §3161 (h)(8)(B)(ii) and Local Code T-2. The
26   parties stipulate and agree that the interests of justice served by granting this continuance outweigh
27   the best interest of the public and the defendant in a speedy trial. 18 U.S.C. § 3161 (h)(8)(A).
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 1   Dated: June 5, 2008                Respectfully submitted,
 2
 3                                      /s/ Alex R. Kessel
                                        _______________________
 4                                      ALEX R. KESSEL
                                        Attorney for Defendant
 5                                      SALVADOR CAMACHO LOPEZ
 6
 7                                      /s/ Gilbert A. Roque
                                        ________________________
 8                                      GILBERT A. ROQUE
                                        Attorney for Defendant
 9                                      ELISANDRO AMBRIZ-MUNOZ
10
                                        /s/ Shari Rusk
11                                      ________________________
                                        SHARI RUSK
12                                      Attorney for Defendant
                                        EDUARDO LLAMAS-MONTES
13
14   Dated: June 5, 2008                MCGREGOR W. SCOTT
                                        United States Attorney
15
                                        /s/ Heiko Coppola
16                                      ________________________
                                        HEIKO COPPOLA
17                                      Assistant United States Attorney
18
     IT IS SO ORDERED:
19
20   Dated: June 5, 2008
21                                    _______________________________________
                                      FRANK C. DAMRELL, JR.
22                                    UNITED STATES DISTRICT JUDGE
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